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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CASE NO. 03-MDL-1570

IN RE: TERRORIST ATTACKS ON | AFFIRMATION TO WITHDRAW AS
SEPTEMBER 11, 2001. CO-LEAD COUNSEL BY MARC D.
POWERS

This document relates to:

New York Marine and General Insurance Co. v. Al Qaida, et al., Civil Action No. 1:04-
CV-06105-RCC

Federal Insurance, et al. v. Al Qaida, et al., Civil Action No. 1:03-CV-06978-RCC

O'Neill v. The Republic of Iraq, Civil Action No. 04-CV-01076-RCC

Pursuant to Local Rule of Civil Procedure 1.4, your deponent hereby moves to
withdraw my firm’s appearance as co-lead counsel in the above-referenced matter. In
support of this motion, the undersigned states, under penalty of perjury and pursuant to
28 U.S.C. § 1746, as follows:

La I entered my appearance on behalf of the Defendant Republic of Iraq in
the three actions above on March 29, 2006. I have moved to admit Timothy B. Mills and
James Maggs of Maggs & McDermott, LLC to be admitted pro hac vice on April 3,
2006, for Mr. Mills, and April 4, 2006, for Mr. Maggs. These motions were granted on
April 5, 2006, for Mr. Mills and April 6 for Mr. Maggs.

2. Defendant Republic of Iraq has not paid my law firm’s invoices reflecting
our reasonable attorneys fees in over one and one-half years. Republic of Iraq currently

owes my firm $77,354.03 in past due, unpaid fees, with an additional $5,437.50 in new
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billings, for a total of $82,791.53. It is also difficult to communicate with this client,
which we do through Mr. Mills. Mr. Mills travels extensively throughout the Middle
East and at times is unavailable for consultation.

3. Defendant Republic of Iraq is not prejudiced by my firm’s withdrawal as
co-lead counsel, because Mr. Mills and Mr. Maggs will continue to serve as co-lead
counsel. Further, I have been advised that they have identified suitable replacement co-
lead counsel.

4, We are advised by Mr. Mills that defendant is unopposed to this motion.
Dated: New York, New York

May 9, 2008

I certify that the foregoing is true and correct.

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Marc D. Powers (MDP-1528)

